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     UNITED STATES DISTRICT COURT
     EASTERN DISTRICT OF NEW YORK



     UNITED STATES OF AMERICA,
         -   V.   -                                              Case No. 1:18 Cr. 00204-NGG
     KEITH RANIERE, CLARE BRONFMAN,
     ALLISON MACK, KATHY RUSSELL, LAUREN
     SALZMAN, and NANCY SALZMAN,


                                         Defendants.



         ~ f ~ ] ORDER EXONERATING BOND AND ORDERING RELEASE OF
                              PASSPORT


             WHEREAS, on April 24, 2018, this Court ordered the release of Ms. Mack on a

     $5,000,000.00 personal recognizance bond, secured by two mortgages for properties with a

     combined estimated market value of approximately $1,730,000 and a lien on an individual

     retirement account owned by the defendant in the amount of$585,000;

             WHEREAS, Ms. Mack has fully complied with the terms of this bond;

             WHEREAS, on July 27, 2021, this Court sentenced Ms. Mack to thirty-six months on Count

     One of the Superseding Indictment and thirty-six months on Count Two of the Superseding

    Indictment which Ms. Mack is currently serving concurrently;

             WHEREAS, counsel for Ms. Mack has made an application for an order directing U.S.

    Pretrial Services to return Ms. Mack's passport;

             IT IS HEREBY ORDERED, upon the application of Ms. Mack, that Ms. Mack's bond in this

     matter is hereby exonerated and released. All suretors on Ms. Mack's bond and all properties are also

    released from any liability in connection with said bond.
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             IT IS FURTIIER ORDERED that U.S. Pretrial Services is directed to release Ms. Mack's

     passport to her parents, by returning her passport to her at the address she has provided to Pretrial

     Services.



      Dated: New York, New. York                          SOIORDERED.
             September .J. If , 2022                        s/Nicholas G. Garaufis

                                                          HON. NICHOLAS G. GARAUipS
                                                          UNITED STATES DISTRICT ruDGE
                                                          EASTERN DISTRICT OF NEW YORK
